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                 IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WISCONSIN


WILLIAM WHITFORD, et al.

        Plaintiffs,

v.
                                                  Case No. 3:15-CV-00421-jdp
BEVERLY R. GILL, et al.,

        Defendants;

and

THE WISCONSIN STATE ASSEMBLY,

        Intervenor-Defendant.



THE WISCONSIN ASSEMBLY DEMOCRATIC
CAMPAIGN COMMITTEE,

        Plaintiff,

v.
                                                  Case No. 3:18-CV-00763-jdp
BEVERLY R. GILL, et al.,

        Defendants;

and

THE WISCONSIN STATE ASSEMBLY,

        Intervenor-Defendant.



                      THE WISCONSIN STATE ASSEMBLY’S
                        EMERGENCY MOTION TO STAY
    Case: 3:15-cv-00421-jdp Document #: 230 Filed: 01/07/19 Page 2 of 2



      The Wisconsin State Assembly, through its attorneys, hereby moves for

an immediate stay of these cases pending the Supreme Court’s disposition of

Rucho v. Common Cause and Lamone v. Benisek. The grounds for this motion

are set forth in the accompanying Brief in Support of Wisconsin State

Assembly’s Emergency Motion to Stay and exhibits A - C.



      Respectfully submitted this 7th day of January 2019.


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